 Case 2:22-cv-04649-ES-JRA Document 2 Filed 07/19/22 Page 1 of 1 PageID: 24




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

 Kosher Supervision Service Inc. and
 Kosher Supervision Service Inc. d/b/a Kof-
 K Kosher Supervision,                      Civil Action No.:

                      Plaintiff,
                                               RULE 7.1 DISCLOSURE STATEMENT
        -against-

 Limson Trading, Inc.,

                      Defendant.


       Pursuant to Fed.R.Civ.P. 7.1, the undersigned counsel for Plaintiffs, Kosher

Supervision Service Inc. and Kosher Supervision Service Inc. d/b/a Kof-K Kosher

Supervision certifies that it is not publicly held nor does it have any corporate parents,

affiliates and/or subsidiaries which are publicly held.


  Dated: July 19, 2022                      Law Offices of Jan Meyer and Associates,
                                            P.C.

                                             /s/ Richard L. Elem

                                            Richard L. Elem, Esq.
                                            Attorney for Plaintiffs
                                            1029 Teaneck Road, Second Floor
                                            Teaneck, New Jersey 07666
